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 8   Counsel for Defendant KLINGER
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10                                 IN THE UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                            OAKLAND DIVISION
13

14     UNITED STATES OF AMERICA,                             Case No.: CR 21–71085 MAG
15                    Plaintiff,                             STIPULATION AND [PROPOSED]
                                                             ORDER TO CONTINUE STATUS
16            v.                                             HEARING
17     ROSS KLINGER,
18                    Defendant.
19

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            IT IS HEREBY STIPULATED, by and between the parties to this action, the STATUS
21
     HEARING presently set for October 8, 2021 at 1:00 p.m. before Hon. Virginia K. DeMarchi be
22
     CONTINUED until October 29, 2021 at 1:00 p.m. before the Duty United States Magistrate.
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            The reason for this request is that the defense needs additional time to review the discovery,
24
     investigate the case, and discuss the case with Mr. Klinger prior to electing how to proceed. The
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     government has provided significant discovery. Additionally, defense counsel has been set for in-
26
     person Pretrial Conference in another case in San Francisco at 1:00 PM on October 8, 2021.
27
            The parties agree and stipulate that the time until October 29, 2021 should be excluded, under
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     STIP. AND [PROPOSED] ORDER TO CONTINUE
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 1   18 U.S.C. §3161(H)(7)(A) and (B)(iv), because the ends of justice served by the granting of the
 2   continuance outweigh the bests interests of the public and the defendant in a speedy and public trial.
 3   With the consent of the defendant, and taking into account the public interest in the prompt
 4   disposition of criminal cases, the parties jointly request that the court find good cause for extending
 5   the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1 and for
 6   extending the 30-day time period for an indictment under the Speedy Trial Act (based on the
 7   exclusions set forth above). See Fed. R. Crim. P. 5.1; 18 U.S.C. § 3161(b).
 8           The continuance is necessary to accommodate defense preparation.
 9

10           DATED:         October 5, 2021                       ____________/S/__________________
                                                                 JOHN PAUL REICHMUTH
11                                                               Assistant Federal Public Defender

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13
             DATED:         October 5, 2021                      _____________/S/_________________
14                                                               MOLLY K. PRIEDEMAN
                                                                 Assistant United States Attorney
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17
                                                 [PROPOSED] ORDER
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19          Based on the reasons provided in the stipulation of the parties above, the Court hereby finds

20   that for adequate preparation of the case by defense counsel and in the interest of justice, pursuant to

21   18 U.S.C. sections 3161(h)(7)(A) and (B)(iv), an exclusion of time is warranted under the Speedy

22   Trial Act. Based on these findings, it is

23          ORDERED that time be excluded from October 8, 2021 until October 29, 2021 for both speedy

24   trial purposes and the 30-day time period for indictment.

25          Furthermore, with the consent of the defendant, and taking into account the public interest in

26   the prompt disposition of criminal cases, the court sets attorney appointment and status on

27   preliminary hearing for October 29, 2021 at 1:00 p.m., based on the parties’ showing of good cause to

28   waive time under Rule 5.1, from October 8, 2021 until October 29, 2021, and finds good cause for


     STIP. AND [PROPOSED] ORDER TO CONTINUE
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              Case 4:22-cr-00031-YGR Document 23 Filed 10/05/21 Page 3 of 3



 1   extending the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1.
 2   Accordingly, it is
 3          ORDERED that the waiver of time under Rule 5.1 is effective from October 8, 2021 until
 4   October 29, 2021. Further, it is
 5          ORDERED that the ATTORNEY APPOINTMENT HEARING and STATUS on
 6   PRELIMINARY HEARING presently set for October 8, 2021 at 1:00 p.m. before Hon. Virginia K.
 7   DeMarchi be CONTINUED until October 29, 2021 at 1:00 p.m. before the Duty United States
 8   Magistrate.
 9

10           IT IS SO ORDERED.

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12           DATED: October ___ 2021                   _______________________________
                                                             Hon. ROBERT M. ILLMAN
13
                                                             United States Magistrate Judge
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     STIP. AND [PROPOSED] ORDER TO CONTINUE
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